Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 1 of 20 PageID #: 4496




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


   BRIGHT DATA LTD.

              Plaintiff,                   Case No. 2:21-CV-00225-JRG-RSP

        v.
   NETNUT LTD.
              Defendant.




       PLAINTIFF BRIGHT DATA’S MOTION FOR CORRECTIVE ACTIONS AND
       SANCTIONS FOR VIOLATION OF PROTECTIVE ORDER AND ABUSE OF
                          SETTLEMENT PROCESS
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 2 of 20 PageID #: 4497




                                                           TABLE OF CONTENTS

   I.        BACKGROUND .................................................................................................................. 3
   II.       ARGUMENT ....................................................................................................................... 7
         A. NetNut and Its Counsel Violated the Protective Order In Disclosing Bright Data’s
            Confidential Information From the Settlement .................................................................... 7
         B. NetNut Is Separately Prohibited Under the Express Terms of the Settlement Agreement
            from Disclosing the Confidential Terms of the Settlement Agreement ............................... 8
         C. The Arbitration Provision of the Settlement Agreement Does Not Apply to Violations of
            the Protective Order or Otherwise Limit the Court’s Inherent Authority ............................ 9
         D. NetNut and Its Counsel Should Be Sanctioned for Violating the Protective Order
            Including Under the Court’s Inherent Powers .................................................................... 10
         E. These Violations of the Protective Order Were Particularly Egregious Given that The
            Violations Immediately Followed Dismissal of the Litigation and the Violations Were
            Timed to Correspond with Bright Data’s Mediation in Parallel Proceedings Involving
            Overlapping Patents for Maximum Impact ........................................................................ 12
         F. These Egregious Violations of the Protective Order Warrant Corrective Action and
            Sanctions Including, Payment of Attorney Fees and Other Relief..................................... 13
   III.      CONCLUSION .................................................................................................................. 14




                                                                        i
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 3 of 20 PageID #: 4498




                                                        TABLE OF AUTHORITIES




   Cases

   Bead Filters Int'l, LLC v. Christopher Mills & Int’l Filter Sols., Inc., Civil Action No. SA-09-

      CV-105-XR, 2009 U.S. Dist LEXIS 105930 (W.D. Tex. Nov. 12, 2009) ............................... 10

   Conkling v. Turner, 883 F.2d 431 (5th Cir. 1989) ........................................................................ 13

   Gonzalez v. Trinity Marine Group, Inc., 117 F.3d 894 (5th Cir. 1997)......................................... 10

   In re Parametric Tech. Corp. Sec. Litig., 300 F. Supp. 2d 206 (D. Mass. March 29, 2001) .......... 8

   Luminati Networks Ltd. v. UAB Tesonet and UAB Metacluster LT, Case No. 2:18-cv-299-JRG

      (E.D. Tex. April 7, 2020) .......................................................................................................... 11

   Lunareye, Inc. v. Gordon Howard Assocs., 78 F. Supp. 3d 671 (E.D. Tex. 2015) ...................... 11

   Lyn-Lea Travel Corp. v. Am. Airlines, 283 F.3d 282 (5th Cir. 2002).................................... 10, 11

   Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27 (2011) ........................................................... 8

   Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980) ................................................................. 14

   Shelton v. Am. Motors. Corp., 805 F.2d 1323 (8th Cir. 1986)...................................................... 13

   Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486 (5th Cir. 2012) ................ 10, 11

   Rules

   Fed. R. Civ. P 37(b)(2).................................................................................................................. 14




                                                                        ii
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 4 of 20 PageID #: 4499
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 5 of 20 PageID #: 4500




           Law360 issued an article on May 19, 2022 (“Law360 Article,” Ex. B) quoting lead counsel

   Elliot Cook and stating “[a]ccording to Finnegan Henderson Farabow Dunner & Garrett LLP,

   which represented NetNut, the parties                                                     ,” a clear

   violation of the confidentiality provision of the agreement. Worse, Defendant’s parent company

   Safe-T immediately and widely publicized a press release (Exs. C, D, E, F, G) disclosing more

   confidential provisions of the settlement, including the statement “[t]he Parties Agreed to a

                                                                          Pursuant to the Terms of a

   Confidential Settlement Agreement,” which acknowledged the agreement’s confidentiality.

   NetNut and its counsel’s selective release of confidential information was designed to inflict

   reputational harm on Bright Data within the marketplace including by misleading customers,

   competitors and investors in the proxy services marketplace that Bright Data’s patents have little

   value and Bright Data’s patent disputes can be resolved with no monetary consideration.

          Bright Data promptly contacted NetNut’s counsel on May 19, 2022 upon becoming aware

   of the violations of confidentiality to request that the Finnegan law firm immediately withdraw the

   improperly disclosed materials. See. e.g. Exs. H, I, and J. Following a subsequent meet and confer

   between counsel for Bright Data and counsel for NetNut, the Finnegan law firm



                     and that Safe-T issued its press release to GlobalNewswire and separately

   submitted the same to the SEC and a regulatory body in Israel. Ex. M at 1-2. As of today the

   article is still on the Law360 website and the Safe-T press release is still available on the SEC

   website and other financial websites on the web. Meanwhile, far from taking responsibility for

   their actions, Mr. Cook, the Finnegan firm, and NetNut all assert they have done nothing wrong

   and refuse to withdraw the 6-K security filing that publicly includes improper, one-sided



                                                   2
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 6 of 20 PageID #: 4501
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 7 of 20 PageID #: 4502




          The confidentiality provision was a key term resulting from negotiations by both parties.

   Having executed the confidential settlement, the Parties filed a joint motion to dismiss (Dkt. 151)

   on May 16, 2022, which was granted on May 17, 2022 (Dkt. 151).

          B. Disclosure of Confidential                                                             By
             NetNut’s Law Firm – Finnegan

          Despite the importance of confidentiality, on May 19, 2022, Law360 issued the article

   attached as Exhibit B entitled “NetNut Reaches                              in Proxy Server Suit.”

   That article included the statement “[a]ccording to Finnegan Henderson Farabow Dunner &

   Garrett LLP, which represented NetNut, the parties

           ” and separately quoted Elliot Cook. Ex. B at 1. This statement disclosed

                                                          in violation of                             .

   Upon learning of the article, Bright Data promptly sent letters to Mr. Cook and the Finnegan law

   firm’s managing partner, Mr. Anand Sharma, notifying NetNut and its counsel of the breach and

   demanding immediate mitigation including retraction of the article. Exs. H and I. Bright Data

   also sent an email to the author of the Law360 article requesting that this article be taken off the

   website immediately, but Law360 refused to retract the article. Ex. K.

          C. The Parties Met and Conferred But NetNut Failed to Mitigate Harm to Bright Data

          As the insistence of Bright Data, the Parties, including lead and local counsel, met and

   conferred on May 20, 2022. Ex. L. In response to NetNut’s request, Bright Data sent a list of

   questions to determine the scope of disclosure by NetNut and its counsel and agreed to delay filing

   a motion for sanctions until after the weekend to give NetNut and its counsel an opportunity to

   take remedial action. Id. Mr. Cook responded on May 21, 2022 by identifying a number of

   recipients of the disclosures by the Finnegan law firm and Safe-T Group, but did not identify any

   remedial actions taken by NetNut and its counsel other than a request by the Finnegan law firm


                                                    4
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 8 of 20 PageID #: 4503




   asking Law360 to retract the article (which did not result in any retraction). Bright Data allowed

   through Monday, May 23, 2022 for NetNut and its counsel to implement appropriate remedies,

   but none were implemented. On May 24, 2022, counsel for NetNut asked for additional input on

   its “suggestion,” but given their adamant insistence that there were no improper acts and that they

   were required to make the disclosure in the 6-K form, the parties had reached an impasse.

          In responding to Bright Data’s questions, the Finnegan Law firm admitted to

                                                                       “NetNut has settled with Bright

   Data                                 ”. Ex. M at 1-2. The Finnegan Law firm also represented that

   it reached out to Law360 to request withdrawal of the article, but as of today the article is still

   available on the Law360 website. The Finnegan Firm has not confirmed whether it has otherwise

   taken any remedial actions including contacting the                   to retract its disclosure.

          D. Disclosure of Confidential
              of Settlement Agreement By NetNut’s Parent Company – Safe-T

          That same day, and without any notification to Bright Data beforehand, Bright Data learned

   of a further breach of the confidentiality of the settlement in the form of a press release issued by

   Safe-T, which is attached as Ex. D. That press release, discovered on Yahoo Finance, made a

   number of statements including

                                Pursuant to the Terms of a Confidential Settlement Agreement.” Ex.

   D at 1. Safe-T selectively disclosed at least              of the settlement agreement. Bright Data

   promptly responded by sending a third letter (Ex. J) to Mr. Cook notifying Mr. Cook of this

   additional breach and demanding the immediate withdrawal of the press release.

          Since the meet and confer, Bright Data has discovered that the Safe-T press release has

   also appeared on Safe-T’s website, has been filed with the SEC as part of a 6-K disclosure, and

   has been published through the website www.globenewswire.com. Ex. M at 1-2. NetNut asserts


                                                    5
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 9 of 20 PageID #: 4504




   that Safe-T is obligated to disclose confidential terms of the settlement agreement under securities

   laws, regardless of the confidentiality of such terms to Bright Data. Ex. M at 1.




                                                                    Ex. A at ⁋ 12 (emphasis added).

          E. Harm to Bright Data

          By selectively disclosing the

                                          , NetNut and its counsel have created the misleading and

   deceptive impression that Bright Data’s patents have no value. However, the settlement was based

   on

                                                         Ex. A at 1. In fact,



                                                                Ex. A at ⁋ 5. The selective disclosure

   of settlement terms by the NetNut and its counsel creates the false impression that Bright Data’s

   patents do not cover U.S. based residential proxies. That is wholly incorrect and harmful to Bright

   Data, including because of the misimpression this creates among Bright Data’s customers,

   competitors and investors regarding the scope and enforceability of Bright Data’s patents. Further,

   this selective disclosure has already been used by defendants 3 in the ongoing Teso, Code200 and

   Tefincom actions to undermine Bright Data’s claims and mediation position.


   3
    Given the selective disclosure of confidential settlement terms by NetNut and its counsel, Bright
   Data informed the mediator in the Teso, Code200 and Tefincom action of the breaches, anticipating
                                                    6
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 10 of 20 PageID #: 4505




   II.      ARGUMENT

         A. NetNut and Its Counsel Violated the Protective Order In Disclosing Bright Data’s
            Confidential Information From the Settlement

            The Settlement Agreement is designated “Confidential” under the Protective Order. Ex. A

   at 1. “Pursuant to paragraphs 5, 9, and 10 of the Protective Order, documents designated

   “CONFIDENTIAL” can only be disclosed by the receiving party to specifically identified groups

   of people involved in the NetNut case including counsel of record and up to “three designated

   representatives of each of the Parties,” excluding other third parties as well as the general public.

   Paragraph 14 of the Protective Order provides:

            There shall be no disclosure of any DESIGNATED MATERIAL by any person
            authorized to have access thereto to any person who is not authorized for such
            access under this Order. The Parties are hereby ORDERED to safeguard all such
            documents, information and material to protect against disclosure to any
            unauthorized persons or entities.

            Despite the clear language of the Protective Order and confidentiality of the settlement

   agreement, NetNut did not request Bright Data’s permission to disclose Bright Data’s confidential

   information,                                                                   or even notify Bright

   Data of such disclosure ahead of time to permit Bright Data the opportunity to object and seek the

   Court’s intervention if necessary. Instead, NetNut and its counsel violated the Protective Order by

   disclosing protected information from the confidential settlement agreement to the general public

   through the Law360 article, the Finnegan Henderson media contacts, the Safe-T press release and

   the 6-K filing with the SEC. NetNut has not identified any requirement that Safe-T was obligated

   to disclose specific confidential terms of the Settlement under the SEC, and Bright Data is aware




   such disclosures to be used against Bright Data. For example, within three business days of the
   breach, during a procedural hearing before the PTAB regarding one of the asserted patents from
   the NetNut case, counsel for Code200 repeatedly referenced the Settlement
                       as part of Code200’s argument regarding the validity of the patent.
                                                    7
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 11 of 20 PageID #: 4506
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 12 of 20 PageID #: 4507
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 13 of 20 PageID #: 4508




   authority of this Court by simply delaying their disclosure of confidential information until after

   dismissal of the cases.

                   For example, it is up to the Court to determine an appropriate sanction for the

   Finnegan law firm violating the Court’s protective order by disseminating Bright Data’s

   confidential information as part of a press release for the Finnegan law firm.

      D. NetNut and Its Counsel Should Be Sanctioned for Violating the Protective Order Including
         Under the Court’s Inherent Powers

          Despite Bright Data’s notice to NetNut of these violations, NetNut and its counsel has

   effected no corrective action. These violations were particularly egregious given the efforts by

   NetNut and its counsel to broadly and immediately publicize selective terms of the confidential

   settlement agreement. See e.g. Exs. B-G. Federal Rule of Civil Procedure 37(b) authorizes

   sanctions, including contempt, for failure to comply with discovery orders, such as protective

   orders. see e.g., Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486, 488 (5th Cir.

   2012) (upholding award of sanctions imposed for party’s inadvertent disclosure of confidential

   materials in violation of a protective order); Lyn-Lea Travel Corp. v. Am. Airlines, 283 F.3d 282,

   290 (5th Cir. 2002) (upholding award of attorneys' fees and expenses imposed as a sanction for

   party's violation of a protective order); Bead Filters Int'l, LLC v. Christopher Mills & Int’l Filter

   Sols., Inc., Civil Action No. SA-09-CV-105-XR, 2009 U.S. Dist. LEXIS 105930 (W.D. Tex. Nov.

   12, 2009) (finding an award of costs and attorney's fees was an appropriate sanction for violating

   a protective order). In addition to Rule 37, this court also has inherent power to authorize

   sanctions. Gonzalez v. Trinity Marine Group, Inc., 117 F.3d 894, 898 (5th Cir. 1997).

          As discussed above, public disclosure of protected information is a clear violation of the

   Protective Order. In Lyn-Lea, the Fifth Circuit upheld sanctions for almost identical behavior

   against a party that disclosed the contents of sealed documents to the press and further issued a


                                                    10
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 14 of 20 PageID #: 4509




   contempt order against that party’s counsel for filing a complaint quoting portions of sealed

   documents in violation of the protective order. 283 F.3d 282, 290-291. In Smith & Fuller, the

   Fifth Circuit upheld sanctions against a law firm for disclosing protected information to a number

   of personal injury lawyers even though the disclosure was inadvertent, which was on top of

   corrective actions that the firm was already ordered to perform. 685 F.3d 486, 490. In Lunareye,

   Inc., where the defendant violated the protective order by disclosing protected information to the

   PTAB in an IPR proceeding, the district court-imposed sanctions in addition to corrective actions

   requiring defendant to join plaintiff to move the PTAB maintain the information under seal.

   Lunareye, Inc. v. Gordon Howard Assocs., 78 F. Supp. 3d 671, 676 (E.D. Tex. 2015).

          In a similar case, Teso LT, UAB issued a press release following settlement and closing of

   the case of Luminati Networks Ltd. v. UAB Tesonet and UAB Metacluster LT, Case No. 2:18-cv-

   299-JRG (E.D. Tex. April 7, 2020). Despite the case being closed, the Court granted a motion for

   sanctions based post-settlement statements made by defendant Teso:

          As to Teso’s Press Releases, the Court finds that Teso has engaged in intentional
          misrepresentations and mischaracterizations via half-truths that violated the
          terms and spirit of the confidential settlement that resolved this case. As such,
          the Court ORDERS Teso to disclose to Luminati within seven (7) days the names
          of any third parties to which Teso has made affirmative statements regarding the
          settlement of the above-captioned case by written press release, email, or other
          written means. In addition, the Court ORDERS Teso to issue a subsequent press
          release within seven (7) days to all persons it previously communicated with about
          such settlement indicating: that the Court did not make a merits judgment; that the
          settlement was by mutual agreement entered into freely by both parties; and that
          the dismissal was merely the procedural means by which the Court carried out the
          parties’ mutual agreement. Further, the Court ORDERS Teso to pay Luminati its
          reasonable attorneys’ fees for bringing and prosecuting the Sanctions Motion, with
          such payment to occur within ten (10) days.

          Ex. I at 2. (emphasis added).

          In this case, the disclosure is even more egregious as NetNut and its counsel disclosed

   highly confidential terms from the settlement giving the misleading and deceptive appearance that


                                                  11
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 15 of 20 PageID #: 4510




   Bright Data’s patents have little value. NetNut and the Finnegan law firm have created a situation

   in which there is no corrective action they can take to make Bright Data whole ensuring great

   reputational damage to Bright Data. Bright Data requests that the Court use its authority to

   sanction NetNut and its counsel under the Protective Order and its own inherent powers.

      E. These Violations of the Protective Order Were Particularly Egregious Given that The
         Violations Immediately Followed Dismissal of the Litigation and the Violations Were
         Timed to Correspond with Bright Data’s Mediation in Parallel Proceedings Involving
         Overlapping Patents for Maximum Impact

          As discussed above, NetNut and the Finnegan law firm selectively disclosed highly

   confidential terms of the settlement agreement within days of the closing of the litigation while

   Bright Data is actively engaged in mediation with other defendants before this Court involving the

   same patents.    Within the same public disclosures, NetNut admitted that the settlement is

   confidential, but selectively released terms anyway. The widespread publication of these selective

   terms was intended to have a maximum impact on Bright Data as it was timed to occur immediately

   after the closing of the case when NetNut and its counsel know that Bright Data is currently

   engaged in mediation with defendants in the Teso, Code200 and Tefincom cases. Unlike the

   inadvertent disclosure in Smith & Fuller, NetNut and its counsel knew what they were doing when

   they willfully disseminated this information through Law360 and Safe-T’s press release. Their

   violations of the Protective Order were egregious and should be sanctioned accordingly.

          In order to assess the extent of the disclosure of Bright Data’s protected information, Bright

   Data requests the depositions of Safe-T’s CEO Shachar Daniel and Defendant’s counsel Elliot

   Cook, who were quoted in the article and press release. With regard to Safe-T’s press release, the

   Finnegan law firm identified the disclosure on Safe-T’s website, an article on

   www.globenewswire.com, and a 6-K filing with the SEC, but otherwise has not identified any

   other recipients of the press release or any other efforts by Safe-T to disseminate the press release.


                                                    12
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 16 of 20 PageID #: 4511




   Ex. M at 1. A deposition of Mr. Shachar Daniel, who is quoted in the press release as Chief

   Executive Officer of Safe-T, is warranted to determine the scope of distribution of this press

   release. Ex. G at 1.

          Similarly, a deposition of Mr. Cook is warranted in this case based on the Shelton factors

   as “(1) no other means exist to obtain the information than to depose opposing counsel; (2) the

   information sought is relevant and nonprivileged; and (3) the information is crucial to the

   preparation of the case.” Shelton v. Am. Motors. Corp., 805 F.2d 1323, 1327 (8th Cir. 1986). Mr.

   Cook is personally quoted in the Law360 press release, which was publicly disseminated through

   various international media outlets. 4 There is no other means to determine the extent of the

   disclosure of Bright Data’s protected information and assess the extent of damages incurred by

   Plaintiff. Further, Plaintiff is merely seeking discovery on the extent of the disclosure of its own

   protected information, which is relevant and not privileged to NetNut. Even if “confidential

   communications are made a material issue in [this] judicial proceeding, fairness demands treating

   the defense as a waiver of the privilege.” Conkling v. Turner, 883 F.2d 431, 434 (5th Cir. 1989)

   (“The attorney-client privilege was intended as a shield, not a sword.”) (internal quotations and

   citations omitted). Lastly, Mr. Cook’s testimony will be crucial to determining the extent of

   damages incurred from protected information being disclosed to the public.

       F. These Egregious Violations of the Protective Order Warrant Corrective Action and
          Sanctions Including, Payment of Attorney Fees and Other Relief

          While insufficient to make Bright Data whole, Bright Data also respectfully requests that

   NetNut and its counsel be ordered to take corrective actions including providing discovery



   4
     Mr. Cook provided a report of the dissemination of the breach disclosures but not under oath,
   and NetNut’s counsel refused to provide information about who at his firm spoke with the press
   or what was said in those communications, asserting that such information was not to resolve the
   issue but constituted “discovery” that they would not supply.
                                                   13
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 17 of 20 PageID #: 4512




   including declarations and depositions to determine the scope of disclosure by NetNut and its

   counsel, sending apologies and requests for retraction to all recipients of the disclosures, correcting

   Safe-T Group’s filing with the SEC including, but not limited to a request to delete its 6-K filing

   https://www.sec.gov/page/edgar-how-do-i-correct-withdraw-or-delete-filing; and issuance of a

   corrective press release explaining that settlement of the case was based on NetNut’s

   representation that



                                                                 . The above corrective measures are

   available under Fed. R. Civ. P 37(b)(2) and the Court’s inherent powers and provide bare minimum

   corrective actions that would impose a minimum burden, considering NetNut and its counsel’s

   public dissemination of confidential terms of the settlement agreement.

          In addition, to the above corrective measures, NetNut and its counsel should also be subject

   to sanctions to penalize the violation of the protective order. Rule 37 sanctions must be applied

   diligently both “to penalize those whose conduct may be deemed to warrant such a sanction, [and]

   to deter those who might be tempted to such conduct in the absence of such a deterrent.” Roadway

   Express, Inc. v. Piper, 447 U.S. 752, 763-764 (1980). Bright Data requests that sanctions against

   NetNut and the Finnegan law firm include an award of Bright Data’s attorneys’ fees and costs, and

   any other relief that the Court may find appropriate.

   III.   CONCLUSION

          For the reasons provided above, Bright Data respectfully requests that the Court order that

   NetNut provide Messrs. Shachar Daniels, Elliot Cook and a 30(b)(6) representative for NetNut

   Ltd. for depositions related to the disclosure and publication of Bright Data’s protected

   information. Bright Data further respectfully requests that the Court order NetNut and its counsel

   to take corrective actions including (a) a declaration from each of the Finnegan law firm and
                                                     14
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 18 of 20 PageID #: 4513




   NetNut Ltd. (including its acting CEO and sole director Shachar Daniel, who also runs Safe-T,

   which is included as part of NetNut under the settlement), identifying all third-party recipients of

   confidential information from the settlement agreement; (b) an apology by the Finnegan law firm

   to each recipient of the disclosed information from the Finnegan law firm, including but not limited

   to                                                                      of the Finnegan law firm’s

   email, for disclosing confidential information in violation of a protective order and confidential

   settlement agreement, and a request to retract any article, press release or other communication

   comprising terms from the confidential settlement agreement; (c) an apology by Safe-T Group Ltd.

   to each recipient of the disclosed information from the Safe-T Group, including but not limited to

   the identified recipients of Safe-T’s press release including the SEC, explaining that Safe-T Group

   Ltd. made a selective disclosure of confidential terms which is a violation of the protective order

   and confidential settlement agreement and misleading in the context of the totality of the

   settlement, and a request by Safe-T Group for a retraction of the same press release by each of the

   recipients, including the SEC; (d) withdrawal / deletion of the improper Safe-T 6-K filing with

   the SEC; (e) issuance of a corrective press release explaining that NetNut’s prior press release was

   improper, included misleading information about the settlement, and should be disregarded; and

   (f) an order that NetNut include the statement




                    . After completing discovery and assessing the actions, Bright Data requests to

   submit a statement of appropriate damages to be awarded as a result of the breach. In addition,

   Bright Data requests sanctions including its costs and attorneys’ fees as well as any relief that the

   Court may find appropriate.



                                                    15
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 19 of 20 PageID #: 4514




   Dated: May 24, 2022                       Respectfully submitted,

                                             By: /s/ Ronald Wielkopolski
                                             Elizabeth L. DeRieux
                                             State Bar No. 05770585
                                             Capshaw DeRieux, LLP
                                             114 E. Commerce Ave.
                                             Gladewater, TX 75647
                                             Telephone: 903-845-5770
                                             ederieux@capshawlaw.com

                                             J. Mark Mann
                                             G. Blake Thompson
                                             Mann | Tindel | Thompson
                                             300 West Main
                                             Henderson, TX 75652
                                             mark@themannfirm.com
                                             blake@themannfirm.com
                                             Office 903-657-8540
                                             Marshall Office 903-472-4294
                                             Tyler Office 903-596-0900
                                             Waco Office 254-776-3336

                                             Korula T. Cherian
                                             Robert Harkins
                                             RuyakCherian LLP
                                             1936 University Ave, Ste. 350
                                             Berkeley, CA 94704
                                             sunnyc@ruyakcherian.com
                                             bobh@ruyakcherian.com

                                             Thomas Dunham
                                             Ronald Wielkopolski
                                             J. Michael Woods
                                             RuyakCherian LLP
                                             1901 L St. NW, Suite 700
                                             Washington, DC 20036
                                             tomd@ruyakcherian.com
                                             ronw@ruyakcherian.com
                                             michaelw@ruyakcherian.com

                                             Attorneys for Plaintiff
                                             Bright Data Ltd.


                                        16
Case 2:21-cv-00225-JRG-RSP Document 163 Filed 05/26/22 Page 20 of 20 PageID #: 4515




                                    CERTIFICATE OF SERVICE
           I hereby certify that all counsel of record who are deemed to have consented to electronic

   service are being served this 24th day of May 2022, with a copy of this document via CM/ECF.



                                                /s/ Ronald Wielkopolski


                                CERTIFICATE OF CONFERENCE
          The undersigned hereby certifies that the counsels for the parties have complied with Local

   Rule CV-7(h). Bob Harkins, Ron Wielkopolski, Betty DeRieux and Blake Thompson on behalf

   of Plaintiff and Elliot Cook, Diana Ashton and Eric Findlay on behalf of Defendant engaged in a

   telephonic meet and confer on May 20, 2022.

                                                /s/ Ronald Wielkopolski


                CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
          I hereby certify that the foregoing document is being filed under seal pursuant to the

   Protective Order entered in this case.

                                                /s/ Ronald Wielkopolski




                                                  17
